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                                                                                              
               BUSINESS RECORD CERTIFICATION OF APPLE INC.

                                CUSTODIAN OF RECORDS



 I, Kyle Kessler, hereby declare:


 1.      I am employed by Apple Inc. and that my official title is Business Intelligence
 Analyst. I am a duly authorized Custodian of Records, or other qualified witness for
 Apple Inc. (“Apple”) located in Cupertino, California. As such I have the authority to
 certify these records, APL000001_Apple Confidential through APL000002_Apple
 Confidential and APLiC000001_Apple Confidential produced July 26, 2019 as a
 response to a search warrant served on July 10 2019. I am authorized to submit this
 declaration on behalf of Apple.
 2.      Each of the records produced is the original or a duplicate of the original record
 in the custody of Apple Inc.
 3.      The records contain Apple's record of the iOS device backup(s) transmitted to
 Apple by and stored on behalf of the Apple ID account with username
 j.longstreth@me.com (“Backup Records”).
 4.      These records were made at or near the time of the occurrence of the matters set
 forth in the records;
 5.      With regard to the Backup Records, the aforementioned Apple ID account
 transmitted the Backup Records to Apple and Apple stored those records at or near the
 time indicated on the Backup Records;
 6.      These records were kept in the course of the regularly conducted activity; and,
 7.      These records were made by the regularly conducted activity as a regular
 practice.
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                                                                                               
  I declare under penalty of perjury under the laws of California that the foregoing is true

  and correct.

  DATED: July 26, 2019                              APPLE INC.

                                                   By:
                                                   Name: Kyle Kessler
                                                   Title: Business Intelligence Analyst, Apple Inc.
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               BUSINESS RECORD CERTIFICATION OF APPLE INC.

                                CUSTODIAN OF RECORDS



 I, Kyle Kessler, hereby declare:


 1.      I am employed by Apple Inc. and that my official title is Business Intelligence
 Analyst. I am a duly authorized Custodian of Records, or other qualified witness for
 Apple Inc. (“Apple”) located in Cupertino, California. As such I have the authority to
 certify these records, APL000001_Apple Confidential through APL000002_Apple
 Confidential and APLiC000001_Apple Confidential through APLiC000002_Apple
 Confidential produced October 28, 2019 in response to a search warrant served on
 October 11, 2019. I am authorized to submit this declaration on behalf of Apple.
 2.      Each of the records produced is the original or a duplicate of the original record
 in the custody of Apple Inc.
 3.      The records contain Apple's record of the iOS device backup(s) transmitted to
 Apple by and stored on behalf of the Apple ID account with username
 juancespedestorres@gmail.com, juan@oxley-group.com (“Backup Records”).
 4.      These records were made at or near the time of the occurrence of the matters set
 forth in the records;
 5.      With regard to the Backup Records, the aforementioned Apple ID account
 transmitted the Backup Records to Apple and Apple stored those records at or near the
 time indicated on the Backup Records;
 6.      These records were kept in the course of the regularly conducted activity; and,
 7.      These records were made by the regularly conducted activity as a regular
 practice.
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                                                                                               
  I declare under penalty of perjury under the laws of California that the foregoing is true

  and correct.

  DATED: October 28, 2019                           APPLE INC.

                                                   By:
                                                   Name: Kyle Kessler
                                                   Title: Business Intelligence Analyst, Apple Inc.
